Case 2:05-cr-20145-SH|\/| Document 29 Filed 06/27/05 Page 1 of 4 Page|D 32

 

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSE _
Western Division EOS JUN 27 AH |U' l 5

 

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UNITED sTATEs 0F AMERICA ' ' ' wm H'S
-v- Case No. 2:05cr20145-Ma
ANTIONETTE GRANATA
ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Offlce, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions
0 report as directed by the Pretrial Services Office.

0 participate in one of the following horne confinement program components and abide by all the requirements
of the program which may include electronic monitoring or other location verification system.

Home Detention: You are restricted to your residence at all times except for employment;
education; religious services; medical, substance abuse, or mental health treatment; attorney
visits; court appearances; court-ordered obligations; or other activities as pre-approved by
the Pretrial Services Office.

0 other: Defendant shall abide by all conditions of pretrial release previously imposed..

ADV|CE OF PENALT|ES AND SANCTIONS

A0199A order setting conditions of Release _ -1- q
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with sure ss and/or az(b) Fach on 29 2 ZM

Case 2:05-cr-20145-SHI\/| Document 29 Filed 06/27/05 Page 2 of 4 Page|D 33

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fme, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence,

Federal law makes it a crime punishable by up to ten years of irnprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of irnprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; otto intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a inisdemeanor, you shall be fmed not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge thatI am the defendant in this case and thatI am aware of the conditions of release. lpromise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence irnposed. I am aware
of the penalties and sanctions set forth above.

 

ANTIONETTE GRANATA
3450 HARDIN

MEMPHIS, TN 38122
901-315-3579

Ao issA order seeing conditions at assess -2'

Case 2:05-cr-20l45-SHI\/| Document 29 Filed 06/27/05 Page 3 of 4 Page|D 34

DlRECT|ONS TO THE UNITED STATES MARSHAL
§ The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or

J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Daie; nine 24, 2005 _j-'
TU M. PHAM

UNITED STATES MAGISTRATE .TUDGE

AO 199A Order Settinq Condllions of Re|ease `3°

UNITD sATEs isTRIC COURT - EsTER DisRiTC OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20145 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

David Charles Henry

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Honorable Samuel Mays
US DISTRICT COURT

